                           UNITED STATES DISTRICT COURT
,   \
                        EASTERN DISTRICT OF NORTH CAROLINA
                                   SOUTHERN DIVISION
                            Criminal No. 7:08-CR-150-D
                              Civil No. 7:21-CV-179-D


    WALTER JAMES BROWN, II,                    )
                                               )
                       Petitioner,             )
                                               )
          V.                                   )                   ORDER
                                               )
    UNITED STATE.$ OF AMERICA,                 )
                                               )
                       Respondent.             )




          Having examined petitioner's motion pursuant to Rule 4(b) of the Rules Governing

    § 2255 Proceedings, the United States Attorney is DIRECTED to file an Answer pursuant

    to Rule 5, Rules Governing § 2255 Proceedings, or to make such other response as

    appropriate to the above-captioned § 2255 'Motion to Vacate, Set Aside or Correct
                                                                             )
-' Sentence, within forty (40) days of the filing of this order.



          SO ORDERED. This t.o day of October, 202.1.




                                          JfirES C. DEVER Ill
                                          UNITED STATES DISTRICT JUDGE




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